           Case 1:19-vv-00183-UNJ Document 25 Filed 03/06/20 Page 1 of 2




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-183V
                                         UNPUBLISHED


    DULCE CONCEPCION MULLER-                                  Chief Special Master Corcoran
    CARILLO,
                                                              Filed: February 4, 2020
                         Petitioner,
    v.                                                        Special Processing Unit (SPU);
                                                              Ruling on Entitlement; Concession;
    SECRETARY OF HEALTH AND                                   Causation-In-Fact; Tetanus
    HUMAN SERVICES,                                           Diphtheria acellular Pertussis (Tdap)
                                                              Vaccine; Shoulder Injury Related to
                        Respondent.                           Vaccine Administration (SIRVA)


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.

Julia Marter Collison, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1


       On January 31, 2019, Dulce Concepcion Muller-Carillo filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered a SIRVA
as a result of her August 2, 2017 tetanus diphtheria acellular pertussis (Tdap) Vaccine .
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
            Case 1:19-vv-00183-UNJ Document 25 Filed 03/06/20 Page 2 of 2



      On January 31, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, Respondent indicates that

       he has concluded that petitioner’s alleged injury is consistent with SIRVA
       and was caused-in-fact by the administration of a Tdap vaccine on August
       2, 2017. There were no other causes identified for petitioner’s SIRVA.
       Records indicate that petitioner has suffered the sequela of her injury for
       more than six months. Based on the medical records outlined above,
       petitioner has met the statutory requirements for entitlement to
       compensation. See 42 U.S.C. § 300aa 13(a)(1)(B); 42 U.S.C. § 300aa-
       11(c)(1)(D). Therefore, based upon the record as it currently stands,
       petitioner has satisfied all legal prerequisites for compensation under the
       Act.

Id. at 4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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